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IN THE UNITED STATES DISTRICT COURT

FOR THE DISTRICT OF MARYLAND
WILLIAM C, BRANDT,
Plaintiff Civil Action No. 1:15-cev-1841

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MOSAIC COMMUNITY
SERVICES, INC., et al.,

** * *& &* He HH HH H

Defendants

 

JOINT MOTION FOR APPROVAL OF SETTLEMENT AGREEMENT

The parties to this action jointly seek approval of their settlement of
Plaintiff's claims under the Fair Labor Standards Act (“FLSA”), 29 U.S.C. § 201, et
seq. Since Plaintiff has filed claims under the FLSA, the parties’ settlement must be
approved by the Court and approval must be entered as a stipulated judgment.

Plaintiff acknowledges his decision to settle his lawsuit is voluntarily made of his
own accord, without any pressure, coercion or undue influence by anyone. To ensure that
the parties’ Settlement Agreement is valid and enforceable, the parties jointly present the
attached Settlement Agreement for the Court’s review and approval.

The parties jointly request that this Court approve their Settlement Agreement as
fair and reasonable, and enter an order of dismissal with prejudice and stipulated judgment
pursuant to the terms of the Settlement Agreement. Moreover, in an effort to avoid

additional attorney’s fees and costs on both sides, and to expedite the finality of the
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settlement, the parties jointly request this Court approve this settlement without the need

for a hearing.

Respectfully submitted,

/s/
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(Filed by Mark J. Swerdlin with permission of

Judd G. Millman)

October 26, 2015

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/s/
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